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                               IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

ASSOCIATED RECOVERY,                                          §
                                                              §
                            Plaintiff,                        §
                                                              §
v.                                                            §    Civil Action No. 3:16-CV-1025-L
                                                              §    (Consolidated with Civil Action Nos.
ADAM STRONG, et al.,                                          §    3:17- CV-424-L and 3:17-CV-651-L)
                                                              §
                            Defendants.                       §

                                                    JUDGMENT

         This judgment is issued pursuant to the court’s memorandum opinion and order, dated March

28, 2018, and orders dated April 11, 2018, and April 12, 2018. It is, therefore, ordered, adjudged,

decreed that Plaintiff Associated Recovery (“Plaintiff”) take nothing against Defendants1 with

respect to all claims and requests for relief asserted in this consolidated action based on the Federal

Declaratory Judgment Act, 28 U.S.C. § 2202; the Anticybersquatting Consumer Protection Act, 15

U.S.C. §1125(d); unfair competition and common law trademark infringement; conversion; unjust

enrichment; and intentional interference with an existing contract;2 that these claims by Plaintiff

against Defendants and this action with respect to these claims are dismissed with prejudice; that




         1
           As noted in the court’s March 28, 2018 opinion, the numerosity of the Domain Names and Defendants in this
consolidated action made it impractical for the court to list all of them in the court’s prior opinion. For the same reason,
the court does not list them all in this Judgment and instead refers to Exhibit A to the court’s March 28, 2018 opinion,
which includes the list of 206 Domain Names and corresponding Defendants included in paragraph nine of Plaintiff’s
Complaint, to which the court added John Doe 26 and wyd.com. Apparently for the same reason, the clerk of the court
did not include all Domain Names or the corresponding Defendants on the docket sheet in this consolidated action.
         2
          Plaintiff’s breach of contract claim and related request for attorney’s fees against Defendants SocialBon, Inc.;
Floridians, LLC; Media Options, Inc.; Telepathy, Inc.; News, Ltd.; JRS Holdings, LLC; Sylvia O’Donohoe; Virtual
Investments, LLC; and Quinn Vesey were dismissed without prejudice by separate order on April 12, 2018.

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all reasonable and allowable costs as to these claims are taxed against Plaintiff; and that all relief not

granted herein is denied.

        Signed this 12th day of April, 2018.



                                                         _________________________________
                                                         Sam A. Lindsay
                                                         United States District Judge




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